Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 1 of 14 PageID #:
                                     895




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 2 of 14 PageID #:
                                     896




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 3 of 14 PageID #:
                                     897




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 4 of 14 PageID #:
                                     898




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 5 of 14 PageID #:
                                     899




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 6 of 14 PageID #:
                                     900




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 7 of 14 PageID #:
                                     901




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 8 of 14 PageID #:
                                     902




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 9 of 14 PageID #:
                                     903




                                                                        Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 10 of 14 PageID
                                    #: 904




                                                                       Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 11 of 14 PageID
                                    #: 905




                                                                       Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 12 of 14 PageID
                                    #: 906




                                                                       Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 13 of 14 PageID
                                    #: 907




                                                                       Exhibit 4
Case: 4:22-cv-01113-RLW   Doc. #: 20-4 Filed: 04/06/23   Page: 14 of 14 PageID
                                    #: 908




                                                                       Exhibit 4
